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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE


FUSION ELITE ALL STARS, et al.,

                      Plaintiffs,
                                                  Case No. 2:20-cv-02600-SHL-cgc
v.
                                                  JURY TRIAL DEMANDED
VARSITY BRANDS, LLC, et al.,

                      Defendants.


JONES, et al.,

                      Plaintiffs,
                                                  Case No. 2:20-cv-02892-SHL-cgc
v.
                                                  JURY TRIAL DEMANDED
BAIN CAPITAL PRIVATE EQUITY, et al.,

                      Defendants.


AMERICAN SPIRIT AND                   CHEER
ESSENTIALS, INC., et al.,
                                                  Case No. 2:20-cv-2782-SHL-cgc
                      Plaintiffs,
                                                  JURY TRIAL DEMANDED
v.

VARSITY BRANDS, LLC, et al,

                      Defendants.

        PLAINTIFFS’ JOINT MOTION TO FACILITATE COORDINATION OF
                  DEPOSITIONS IN THE RELATED ACTIONS

        COME NOW Plaintiffs Fusion Elite All Stars, Spirit Factor LLC d/b/a Fuel Athletics,

Stars and Stripes Gymnastics Academy Inc. d/b/a Stars and Stripes Kids Activity Center, Kathryn

Anne Radek, Lauren Hayes, and Janine Cherasaro (collectively, “Fusion Elite Plaintiffs”);

Plaintiffs Jessica Jones, Michelle Velotta, and Christina Lorenzen (collectively, “Jones

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Plaintiffs”); and Plaintiffs American Spirit and Cheer Essentials, Inc., Rockstar Championships,

LLC, Jeff & Craig Cheer, LLC, d/b/a Jeff and Craig Camps, and Ashley Haygood (collectively,

American Spirit Plaintiffs”), individually and on behalf of all others similarly situated, and

move this Court, for an order facilitating their coordination of depositions noticed in the

above-captioned actions (the “Related Actions”). In support of this motion, the Fusion Elite

Plaintiffs, Jones Plaintiffs, and American Spirit Plaintiffs (collectively, “Plaintiffs”) state as

follows:

       1.      This Court has ordered Plaintiffs to coordinate discovery in its Order

Establishing Plaintiffs’ Discovery Coordination Committee. (No. 20-cv-2600, Dkt. 93.)

       2.      Plaintiffs in the Related Actions have agreed to measures to facilitate

coordination and avoid duplicative depositions, including an allowance for Plaintiffs in any

of the Related Actions to attend depositions noticed in any of the other Related Actions and

to use transcripts and exhibits introduced at depositions in any of the other Related Actions.

Plaintiffs in the Related Actions have also agreed on time limits for depositions noticed in

more than one of the Related Actions.

       3.      Fusion Elite Plaintiffs and the Varsity and USASF Defendants have entered

into a stipulation setting time and numerical limits on depositions taken in the Fusion Elite

Action. 1 (No. 20-cv-2600, Dkt. 89 at 3.) Fusion Elite Plaintiffs have also, in accordance with

the order entered by this Court on January 26, 2021, (No. 20-cv-2600, Dkt. 93), coordinated

discovery with the American Spirit and Jones Plaintiffs. However, none of the orders or

stipulations in the above-captioned matters address the amount of time permitted for


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  The term “Varsity and USASF Defendants” refers to Varsity Brands, LLC, Varsity Spirit, LLC,
and Varsity Spirit Fashion & Supplies, LLC (collectively, “Varsity”) and U.S. All Star Federation,
Inc. (“USASF”).

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questioning when a deposition is noticed in two or more of the Related Actions pursuant to

Federal Rule of Civil Procedure 30(b)(1) or 30(b)(6).

          4.     The Related Actions are not identical and concern non-overlapping markets,

non-overlapping conduct, and non-overlapping defendants. For instance, the Fusion Elite

action involves markets for All Star Competitions and All Star Apparel and involves only

Varsity and USASF as Defendants. The Jones action involves three markets – competitive

cheer, cheer camps, and cheer apparel in the context of both All Star gyms and school cheer.

It also involves three additional defendants—Jeff Webb, Bain Capital Private Equity, and

Charlesbank Capital Partners LLC. Meanwhile, the American Spirit action also involves the

band uniform, athletic equipment, and academic regalia markets and additional defendants

BSN Sports, Stanbury LLC, Herff Jones LLC, and USA Federation for Sport Cheering d/b/a

USA Cheer. 2

          5.     Witnesses in the Related Actions include current and former employees of

Varsity, some of whom were also members of various USASF boards and committees. They

are the custodians for thousands of documents pertaining to the claims of the Fusion Elite

Plaintiffs as well as Plaintiffs in the other Related Actions and have a decade or more of

particularized knowledge regarding the Related Actions. Given the scope of the litigation and

the breadth of the witnesses’ knowledge, Plaintiffs anticipate that they will require more than

the seven hours ordinarily allotted by Rule 30(d)(1) for said witnesses’ depositions and more

than the 15 hours of Varsity 30(b)(6) testimony and 7 hours of USASF testimony agreed to

for only the Fusion Elite case.




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    Defendants in all of the Related Actions are referred to as “Defendants.”


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       6.      Rather than seeking an additional 7 hours for each percipient and corporate

witness deposed in American Spirit and Jones, or refusing to coordinate at all, Plaintiffs

submitted a proposal to Defendants setting forth coordination measures for depositions of

overlapping witnesses taken in the Related Actions. This proposal, in addition to allowing

deposition testimony to be used across actions, also allows for an additional two to four hours

of questioning in the event that Plaintiffs in two or more of the Related Actions notice a

deposition of a single witness pursuant to Rule 30(b)(1) and an additional three hours for

Plaintiffs in each of the Related Actions to question Varsity and USASF at their 30(b)(6)

depositions. Defendants rejected this proposal and insist that percipient witnesses only be

questioned for a total of seven hours and that 30(b)(6) time limits not be expanded whatsoever

beyond those agreed to in Fusion Elite.

       For the above reasons and those set forth in the accompanying Memorandum of Law in

Support, Plaintiffs respectfully request that this Court grant the instant Motion, facilitate the

coordination of depositions among Plaintiffs in the Related Actions, and permit additional time for

the questioning of percipient witnesses and corporations whose depositions are noticed in two or

more of the Related Actions.


Dated: October 19, 2021                   Respectfully submitted,

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                             and the Cheer Camp Market Class

                             * Admitted pro hac vice




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                             CERTIFICATE OF GOOD FAITH

      Consistent with Local Rule 26(b)(1) and 7.2(a)(1).01(b)(3), counsel for Plaintiffs have

attempted to resolve the issues raised in this Motion in good faith with Defendants. Plaintiffs

submitted a proposal regarding deposition time on September 29, 2021, which Defendants

rejected on October 1, 2021. Plaintiffs advised counsel for Defendants of their intent to file the

instant motion on October 14, 2021.



                                             /s/ Katherine Van Dyck
                                             Katherine Van Dyck




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 19, 2021, the foregoing was served via

ECF processing upon the following:

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 Capital, LP; Charlesbank Capital Partners,
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 Herff Jones,LLC;




                                           /s/ Katherine Van Dyck
                                           Katherine Van Dyck




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